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      6                             UNITED STATES DISTRICT COURT
      7                                  DISTRICT O F NEVADA

      8 UNITED STATESOFAMERICA,                          )
                                                         )
      9                        Plaintiff,                )
                                                         )
     10          v.                                      )         2:12-CR-037-GM N (lUJ)
     11                                                  )
                                                         )
     12 JAMES LEE BROW N,                                )
                                                         )
     13                        Defendard.                )
     14                          PRELIM INARY ORDER OF FORFEITURE

     15        ThisCourtfindsthatonApril3, 2012,defendantJAM ES LEE BROW N,pled guiltytoCount
     16 oneofaTwo countCriminalIndiotmentcharging him in ColmtOne with Felon in Possession of
                       -



     17
          aFirearm inviolationofTitle 18,United StatesCode,Section 922(g)(1).
     18
               ThisCourtfindsdefendantJAM ES LEE BROW N agreed totheforfeitureofthepropertyset
     19
          forth in Forfeiture Allegation oftheCrim inalIndictm entand inthePlea M emorandum .
     20
     2l        ThisCourtfindsspursuanttoFed.R.Crim.P.32.2(b)(1)and(2),theUnited SàtesofAmerica
     22 lïasshowntlw requisitenexusbetweenpropertysetforthintbeForfeilureAllegation oftheCriminal

     23 IndictmentandthePleaM emorandum and theoffenseto which defendantJAM ES LEE BROW N

     24 pled guilty.

     25         Thefollowing assetsare subjectto forfeiturepursuantto Title 18, United States Code,
     26 S
           ection924(d)(1)andTitle28,UnitedStatesCode,Section2461(c):
         Case 2:12-cr-00037-MMD-CWH          Document 17      Filed 04/03/12    Page 2 of 3




 1          (a)    Norincoshotgun,serialnumber0026538;and
 2          (b)    anyanda11ammtmition('6propertyn)  .


 3          Thi
              sCourtlindsthe United StatesofAmericaisnow entitled to,and should,reducethe
 4
     aforem entioned propertyto thepossession oftheUnited StatesofAmerica.
 5
            NOW THEREFORE,IT ISHEREBY ORDERED,ADJUDGED,AND DECREED thatZe
 6
 7 United StatesofAmerica should seizethe aforem entioned property.

 8          IT IS FURTHER ORDERED,ADJUDGED,AND DECREED allright,title, and interestof

 9 JAM ESLEE BROW N intheaforementiohedpropertyisforfeitedandisvested in theUnited States

10 ofAmericaandshallbesafely held bytheUnited StatesofAmericatmtilfurtherorderoftheCourt.
l1          ITlsFURTHER ORDERED AopuolEo, ANo oEcREEo theunitedstatesofAm erica
l2
     shallpublishforatleastthirty(30)consecutivedaysontheofticialinternetgovernmentforfeimre
l3
     website,w ww.forfeiture.zov,noticeofthisOrder,which shalldescdbetlw forfeited property,sute
14
     thetimeundertheapplicablestattdewhen apetitioncontestingtheforfeituremustbefiledsandstate
15
     the name and contact information for the government attolmey to be served with the petition
16                                                                                              ,
17 pursuanttoFed.R.Crim .P.32.2(b)(6)andTitle21,UnitedStatesCode,Section853(n)(2).
Ig          IT IS FURTHER ORDERED,ADJUDGED,AN D DECREED a petition, ifany,mustbe

19 filed'with theClerk oftheCourt,333LasVegasBoulevard Soutlz, LasVegas,N evada89101.

20          IT ISFURTHER ORDERED , ADJUDOED,AND DECREED acopyofthepetition,ifany,

21 Shallbe served upon the AssetForfeitm e Atlorney ofthe United States A ttorney's Office atthe
22 f
    ollowingaddressatthe tim eoftiling:
23
                 M ichaelA.Humphreys
24               A ssistantUnited States Atlorney
                 DanielD.Hollingsworth
25               AssistantU nited States Attorney
26               Lloyd D .GeorgeUnited StatesCourthouse
        Case 2:12-cr-00037-MMD-CWH           Document 17      Filed 04/03/12    Page 3 of 3



 1                333 LasVegasBoulevard South,Suite 5000
                  LasV egas,N evada 89101.

 3         IT IS FURTHER ORDERED,ADJUDGED ,AND DECREED the noticedescribed herein

     need notbe published in the eventaDeclaration ofForfeitureisissued by theappropriate agency

 5 followingpublication ofnoticeofseizureand intenttoadm inistratively forfeittheabove-described

     Property.

           D ATED this         day of                      ,2012.
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                                              UNITED ST        S DISTRICT JUDGE

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